Case 2:23-cv-01218-JES-KCD                Document 397-1            Filed 05/16/25   Page 1 of 16 PageID
                                                13442



  UNITED STATES DISTRICT COURT
  MIDDLE DISTRICT OF FLORIDA
  FORT MYERS DIVISION
  --------------------------------------------------------------------X
  DANESH NOSHIRVAN, an individual, Plaintiff                                   Case No. 2:23-cv-01218
                                                                               (KCD/JES)
                                                                               AFFIRMATION OF
  v.                                                                           CHRISTOPHER
                                                                               MARLBOROUGH, ESQ.

  JENNIFER COUTURE, et al., Defendants.
  --------------------------------------------------------------------X




 I, Christopher Marlborough, an attorney duly admitted to practice law in the

 States of New York and Florida, affirm under penalty of perjury the

 following:


         1.       I submit this affirmation concerning my experience with Patrick

 Trainor, Esq., and Joseph A. Camp while representing defendant Christian

 Exoo in an action styled, Daniel D’Ambly, et al. v. Christian Exoo, et al., 20—

 cv-12880 (District of New Jersey)(The D’Ambly Case). All claims against Mr.

 Exoo in that case were dismissed with prejudice on or before September 20,

 2022.

         2.       In 2024, I also represented Mr. Exoo in connection with his

 successful motion to quash the Plaintiffs’ subpoena in the D’Ambly case.
Case 2:23-cv-01218-JES-KCD           Document 397-1        Filed 05/16/25      Page 2 of 16 PageID
                                           13443



        3.      I do not know the precise date that Mr. Camp began assisting

 Mr. Trainor in the prosecution of his litigation cases by injecting himself

 into the cases, and harassing, intimidating, and threatening opposing

 parties, witnesses, and attorneys in those cases. However, I do know that

 the practice began no later than January 2021.


 The D’Ambly Case


        4.      The D’Ambly Case was filed on September 21, 2020. All claims

 against my client, Mr. Exoo, were dismissed with prejudice on or before

 September 20, 2022. The case was terminated on May 1, 2025.

        5.      I first became acquainted with Mr. Trainor soon after I filed my

 appearance in the D’Ambly Case.

        6.      In that case, Mr. Trainor represented a group of Plaintiffs,

 including several alleged white supremacists, neo-Nazis, and members of

 the Proud Boys organization.1

        7.      Defendants in the D’Ambly Case included, but were not limited

 to, my client, the Twitter social media service, several Twitter executives,




 1
  One of those Plaintiffs’ Zachary Rehl convicted of seditious conspiracy and other charges and
 sentenced to fifteen years in federal prison in connection with the January 6, 2021, insurrection
 against the United States of America. See https://www.justice.gov/archives/opa/pr/two-leaders-
 proud-boys-sentenced-17-and-15-years-prison-seditious-conspiracy-and-other (last visited May 16,
 2025).
Case 2:23-cv-01218-JES-KCD    Document 397-1    Filed 05/16/25   Page 3 of 16 PageID
                                    13444



 and an alleged vast network of anti-fascist operatives named as John Doe

 Defendants.

       8.     Plaintiffs’ claims against Mr. Exoo arose from their opposition

 to my clients’ alleged activities on the Twitter social media platform,

 including linking Plaintiffs’ identities to their extremist statements and

 practices. Plaintiffs’ claims against my client included alleged violations of

 the Racketeer Influenced and Corrupt Organizations Act, common law

 claims, and several criminal statutes for which there exists no private right

 of action.


 Joseph A. Camp


       9.     I know Mr. Camp began working to assist Mr. Trainor in the

 prosecution of his litigation cases no later than January 2021.

       10.    I first became acquainted with Mr. Camp in connection with his

 efforts to intimidate an individual associated with the D’Ambly Case in

 February 2021. I later learned that he was also harassing my client

 beginning in January 2021.

       11.    My client informed me that he received several harassing phone

 calls from Mr. Camp about the case beginning on January 24, 2021, at his

 place of work. On that day, Mr. Camp reportedly said, “Christian, you’re a
Case 2:23-cv-01218-JES-KCD    Document 397-1    Filed 05/16/25   Page 4 of 16 PageID
                                    13445



 punk and we’re gonna hit you.” My client reported to me that he received

 additional harassing phone calls at work from Mr. Camp on February 23,

 2021 stating “I’m going to find you, your life is going to be very difficult”

 and “bitchass faggot.”

       12.   At that time, I learned that Mr. Camp had been convicted of

 numerous cybercrimes and had been sentenced to at least three years in

 federal prison. I also learned that he had been convicted of stalking and

 attempting to influence a public official. Camp v. Weber, No. 18CA0337,

 2019 Colo. App. LEXIS 2863, at *1 (App. July 3, 2019). I also became aware

 of numerous other harassment campaigns led by Mr. Camp.

       13.   Moreover, I learned of Mr. Camp’s history of stalking and

 intimidating individuals, including attorneys and their families, to pressure

 them to withdraw from lawsuits and abandon their clients.

       14.   Based on the information that I learned about Mr. Camp, it was

 apparent to me that he applied common schemes, plans, and methods of

 intimidation to circumvent the judicial system to obtain litigation advantage

 for himself and others. Unfortunately, that common playbook was applied to

 me and my family.

       15.   Learning about Mr. Camp’s extensive history of cybercrimes,

 stalking, and harassment, as well as his common scheme of harassing and
Case 2:23-cv-01218-JES-KCD    Document 397-1    Filed 05/16/25   Page 5 of 16 PageID
                                    13446



 intimidating attorneys and their family members, had the effect of creating

 in my mind and the minds of my family members, including my elementary

 school age children, fear, trepidation and anxiety.

       16.   My state of mind contributed significantly to my decision about

 whether to continue to represent Mr. Exoo in the litigation or withdraw

 from the case to protect my family from continued harassment. I ultimately

 decided that it was important to show my children the importance of

 standing up for what is right, rather than backing down in the face of

 intimidation.

       17.   On August 30, 2021, Mr. Trainor submitted a letter to the Court

 falsely accusing my client of spoliation of evidence and using that as a basis

 to request expedited discovery. See D’Ambly Dkt. Doc. No. 92. Specifically,

 after demanding that my clients delete one of his social media posts, Mr.

 Trainor accused my client of deleting his Twitter account, when he

 temporarily deactivated the account.

       18.   On August 31, 2021, I submitted a letter to the Court in response

 to Mr. Trainor’s letter. See D’Ambly Dkt. Doc. No. 93, annexed hereto as

 Exhibit 1. As outlined in the letter, my client did not delete his Twitter

 account, he temporarily deactivated the account, which was archived and

 available to my client at all times.
Case 2:23-cv-01218-JES-KCD   Document 397-1   Filed 05/16/25   Page 6 of 16 PageID
                                   13447



       19.   In the letter, I produced documents reflecting Mr. Trainor’s

 conduct unbecoming an attorney during the meet and confer process,

 including his statement “you let your client delete his account, what a

 shitshow” and “allowing your client to delete his account is bush league

 douchery.” See Exh. 1 at PDF page 5.

       20.   Mr. Camp’s first contact with me and my family occurred on

 September 1, 2021, when he sent an e-mail directed to Mr. Exoo’s counsel,

 Mr. Trainor, and United States Magistrate Judge Jessica S. Allen, but did not

 include counsel for the other defendants. A true and correct copy of the 9/1

 and 9/3 2021 email chain from Mr. Camp is annexed hereto as Exhibit 2,

 PDF pages 2-3.

       21.   On the same day, Mr. Camp called me at my office for the

 purpose of harassing and intimidating me, and also left a voicemail message

 on my family’s home telephone line to harass and intimidate my family

 members.

       22.   In the 9/1/21 email, Mr. Camp offered to collect affidavits

 indicating that I had made misrepresentations to the Court, which I did not

 do. See Exh. 2 at PDF page 2.
Case 2:23-cv-01218-JES-KCD   Document 397-1    Filed 05/16/25   Page 7 of 16 PageID
                                   13448



       23.   The 9/1/21 email came from the following email address:

 joey@joeycamp2020.com and listed the following phone number in the

 signature block (720) 454-5240. See Exh. 2 at PDF page 3.

       24.   On September 1, 2021, I received a telephone call from Mr. Camp

 on my office telephone line. I immediately recognized Mr. Camp’s

 distinctive voice from many audio clips and video recordings posted by him

 and others online. I also recognized the phone number (720) 454-5240 as

 listed on my caller ID from signature block on his email to the Court that

 same day, and as one listed by Mr. Camp on various online sites.

       25.   During this telephone conversation, Mr. Camp made the

 following statements:

          a. He stated that he was recording the call.

          b. He stated that he really didn’t mind publishing everything about

             me, my wife, and my children. “We will call your wife, we will

             call your neighbors, just about everyone ... associates ... family

             ... your mom … colleagues. Someone is going to talk to us.”

          c. “So what are you going to do about it, punk? You’re a piece of

             shit. If someone throws a brick through your window, what are

             you going to do about it? Nothing.”

          d. “If someone bashed your client's head in, I would not care.”
Case 2:23-cv-01218-JES-KCD     Document 397-1    Filed 05/16/25   Page 8 of 16 PageID
                                     13449



          e. “Everything you do in life is being watched at this moment, and

             what are you going to do about it?”

          f. “Are you going to call the cops? I wish you would. That would

             really, really, really help.”

          g. “How much of a racist rapist you are. We now believe that you

             raped little children. You are a rapist of children.”

          h. “You are a rapist. You are a child molester. Racist and a

             pedophile.”

          i. “If I need to destroy your reputation and your life. Well, it just

             has to happen.”

          j. “You can’t do shit. My audience is more effective in their work

             than your piece of shit clients.”

          k. “So, pedophile Marlborough. I have no comment for you.”

       26.   On the same day, September 1, 2021, my wife received a

 voicemail message from Mr. Camp on our family’s home telephone line. The

 message falsely stated that I was a pedophile and murderer. I later listened

 to the voicemail, and I immediately recognized Mr. Camp’s distinctive voice

 from many audio clips and video recordings posted by him and others

 online. I also recognized the phone number (720) 454-5240 from the
Case 2:23-cv-01218-JES-KCD   Document 397-1    Filed 05/16/25   Page 9 of 16 PageID
                                   13450



 signature block from his email to the Court that same day and as one listed

 by Mr. Camp on various online sites. See Exh. 2, at PDF page 3.

       27.   My family members, including my elementary school children,

 were terrified by Mr. Camp’s threatening conduct. My family members’

 terror was exacerbated because we were aware that Mr. Camp had been

 criminally charged with crimes related to identity theft, harassment, and

 Mr. Camp made it a point to mention social security information several

 times during his harassing call to me.

       28.   On the afternoon of September 1, 2014, I brought my wife and

 young children to my local police station and attempted to file a police

 report. The officer stated that they would not file a report, but would

 instead take a statement for a “police blotter.” I do not know what that is,

 but my wife and I provided a statement to the officer. We were told that law

 enforcement would take no action at this time. Even for a case of

 aggravated harassment, the crime was a misdemeanor, and they do not

 follow up on misdemeanors where the perpetrator is out of state. The

 officer asked us to keep them informed if the situation escalated

 significantly.

       29.   On September 2, 2021, I was informed that on the same day, Mr.

 Camp sent an intimidating threat to my client via text message. "What's up
Case 2:23-cv-01218-JES-KCD    Document 397-1    Filed 05/16/25   Page 10 of 16 PageID
                                     13451



  bitch? Did you think I was going to go away and be scared? You're about to

  learn a lesson in why you should never have mentioned me. So is Josh, and

  your entire family". According to my client, the reference to Josh refers to

  my client’s brother.

        30.   On September 3, 2021, Mr. Camp sent a second email to Mr.

  Trainor, Plaintiffs’ counsel, and the Court, falsely claiming to have proof

  that I was lying to the Court and asking the Court to sanction me for my

  “blanket lies.” See Exh. 2 at PDF, page 1.

        31.   Mr. Camp’s signature block on this email included several other

  e-mail addresses, including: CampjosephA@gmail.com and

  JosephAcamp@yandex.com. The signature block also included the following

  telephone number (720) 454-5240. See id.

        32.   On September 5, 2021, I received additional evidence suggesting

  that Mr. Camp was receiving inside information about Mr. Trainor’s

  litigation strategy and was eagerly anticipating receiving discovery

  materials in the case.

        33.   Specifically, Camp told his followers on Gab.com the following:

        Stay tuned as something big is about to drop. Antifa is being named as
        a criminal and civil RICO Enterprise in a manner that is unusual and
        will not be able to be ignored. It will also put me in even more harm's
        way.
        Names, certain accounts, etc. will be named specifically which means
Case 2:23-cv-01218-JES-KCD   Document 397-1    Filed 05/16/25   Page 11 of 16 PageID
                                    13452



       that even the tech companies will no longer be able to ignore and
       platform these named violent extremist.

  Attached as Exhibit 3 is a true and correct copy of a September 5, 2021, post
  on Mr. Camp’s Gab.com page.

  The Improper Purpose of the D’Ambly Litigation

       34.   After having been put through the wringer of Mssrs. Trainor and

  Camp’s one-two-three punch combination of frivolous litigation claims,

  accompanied by false allegations of attorney misconduct, and an

  extrajudicial intimidation and harassment campaign, it is clear to me that

  the goal of the D’Ambly Case was not for a legitimate litigation purpose, but

  to abuse the discovery process to improperly obtain information about their

  perceived antifa conspiracy and to cause harm to people who did not share

  their views.

       35.   As a one Proud Boys leader, sentenced to three years in prison in

  connection with the January 6th insurrection against the United States,

  explained so eloquently, the Proud Boys:


       [N]eed to stop fighting Antifa in the streets where the cops are

       and start fighting them in bars and alleys, … We need to stomp

       them. We need to ruin their lives physically …. We need to rack
Case 2:23-cv-01218-JES-KCD                  Document 397-1            Filed 05/16/25        Page 12 of 16 PageID
                                                   13453



             up hospital bills. We need to use special operations tactics and

             lightning strike them.2


             36.     Indeed, identification and exposure of their perceived enemies if

  a top priority for Mr. Trainor’s Proud Boy and neo-Nazi clients as well as

  Mr. Trainor’s himself. As set forth below, Mr. Trainor formed the Anti-

  Doxing League through which he engages “researchers” to identify and

  expose his perceived enemies and anyone who funds those enemies all the

  way up to top levels of government.

             37.     Mr. Camp refers to himself as “The Researcher” which seems to

  be a reference to his role in the Dominion voting machine lawsuits, although

  I have never gone far enough down that rabbit hole to find out. See e.g.,

  Docket: US Dominion, Inc., et al. v. Herring Networks, Inc., et al., 21-cv-

  02130-CJN, Doc. No. 41-3 PDF Pages 10, 77- 78.

             38.     Throughout the litigation, Mr. Trainor acted in furtherance of

  this objective of obtaining identifying information about his perceived

  antifa enemies on behalf of his Proud Boy and neo-Nazi clients.

             39.     Mr. Trainor first issued premature requests for production of

  documents in February 2021, twenty months before the Rule 26 conference




  2
      See https://www.nationalmemo.com/proud-boys-insurrection-police-ties-, last visited May 16, 2025.
Case 2:23-cv-01218-JES-KCD    Document 397-1   Filed 05/16/25   Page 13 of 16 PageID
                                     13454



  in the D’Ambly Case. Around the same time, Mr. Camp first began harassing

  individuals associated with D’Ambly Case.

        40.    Mr. Trainor repeatedly demanded premature responses to his

  premature discovery requests at the pleading stage, despite being informed

  that the demands were premature. See e.g., Exh. 1 at PDF page 4-6.

        41.    Mr. Trainor brought a failed motion for expedited discovery that

  was supported by Mr. Camp’s, both before the Magistrate Allen and through

  an extrajudicial personal harassment campaign against me, my client, and

  my family.

        42.    In his September 5, 2021, Gab.com, Mr. Camp eagerly

  anticipated the receipt of the discovery to be used publicly against perceived

  members of antifa and their associates. See Exh. 3.

        43.    In 2022, Mr. Trainor appeared on several extremist far-right

  wing podcasts boasting about his goal to obtain the vast “treasure trove” of

  discovery concerning antifa. On the Murder the Media Podcast, hosted by

  yet another Proud Boy sentenced to multiple years in prison for his

  participation in the January 6th insurrection, Mr. Trainor spoke of his desire

  to “blow the whole thing wide open”. In this case, the “thing” refers to the

  tin-foil hat conspiracy theory that a perceived antifa network reaches the
Case 2:23-cv-01218-JES-KCD                  Document 397-1             Filed 05/16/25         Page 14 of 16 PageID
                                                   13455



  highest levels of government. See 3/13/22 Murder the Media Podcast at

  22:00-22:30, 53:48-55:05.3

             44.     The Proud Boy host praised Mr. Trainor, stating, “You will be

  the first person in history to prove that antifa isn’t just an idea, but an

  actual organization. Mr. Trainor responded, “In all of these cases against

  these guys, antifa and all that, no one has gotten to discovery, and discovery

  is when you will find all that information.” Id. at 22:00-22:30. Mr. Trainor

  also promised that if the Defendants obtained discovery, the insurrectionist

  Proud Boy host would see all of the internal connections. Id. at 53:48-54:00.




  3
      3/13/22 Murder the Media Podcast, archived at
  https://drive.google.com/file/d/1bsdfFKiLdqtMA6fU3NwLSoRAsbVZge9d/view?usp=sharing (The
  podcast was hosted by Nicholas DeCarlo, a member of the Proud Boys who was sentenced to four years in prison
  for his role in the January 6th insurrection and was later pardoned. During the insurrection, Mr. DeCarlo wrote
  “Murder the Media” on the Chestnut-Gibson Memorial Door of the Capitol Building and posed for pictures in front
  of the door to promote his podcast. This occurred before Mr. Trainor chose to appear on the podcast in 2022. Here is
  a quote from the podcast.
  TRAINOR: “If we get into discovery, then that discovery information not by my doing, but eventually that
  discovery information in the case will proceed.”
  HOST: Will blow the whole thing wide open….
  Trainor: It would. You’d see some real internal connections. Because you’d get down to the nitty gritty. Whatever
  they got. Who’s your phone company? What kind of phone do you use?
  HOST: You wonder why a Congressional probe of some kind hasn’t already happened. That’s right, they pay for all
  their salaries and everything of some kind. It’s going to have to be the court system because it’s not going to be your
  politicians.
  TRAINOR: Plenty of campaign staffers that are not too far removed from these doxxes. Just leave it at that. If
  you’re a campaign staffer, there’s a very good chance you’re going to become a Congressional staffer. To the very
  first question you asked me about who’s connected to who, just keep that in mind. Guys running for office,
  campaign staffers, are not too far removed from these antifa people. Tim Kaine’s son is obviously an antifa guy.
  What you’ve got to be worried about is who’s influencing these influencers.
Case 2:23-cv-01218-JES-KCD                Document 397-1           Filed 05/16/25         Page 15 of 16 PageID
                                                 13456




          45.      Mr. Trainor also boasted of his goals in his appearance on the

  white supremacist “unapologetically white” podcast, Full Haus. See Full

  Haus Podcast Episode 130: Support the ADL*. Anti-Doxing League (with a

  thumbnail photo mockingly depicting a member of the Anti-Defamation

  League).4 Trainor stated that he formed his own ADL organization and that

  he has “researchers” creating evidentiary files and dossiers on people

  funding doxers with the goal of embarrassing and exposing them to the

  world.




  4
   https://www.full-haus.com/index.php/2022/05/27/latest-show-support-the-adl/ at 54:00-57:00 (last visited May 16,
  2025).
Case 2:23-cv-01218-JES-KCD   Document 397-1   Filed 05/16/25   Page 16 of 16 PageID
                                    13457



       46.   Even after all claims against Mr. Exoo were dismissed with

  prejudice from the D’Ambly Case, Mr. Trainor sought improper third-party

  discovery from my client to obtain the precious secrets of his imagined

  antifa conspiracy. See D’Ambly Docket No. 205.

       47.   I represented Mr. Exoo in connection with a motion to quash the

  improper and overly broad third-party discovery. On June 17, 2024, the

  Court granted our motion to quash on procedural grounds and substantially

  narrowed the scope of any revised subpoena only to those issues relevant to

  the case. See D’Ambly Docket No. 207. Tellingly, after the Court denied Mr.

  Trainor the keys to his imagined chamber of antifa secrets, Mr. Trainor did

  not bother to serve another subpoena. It appears that he and his client had

  no interest in seeking discovery from Mr. Exoo about any relevant issue in

  the D’Ambly Case.




  DATED:     Lynbrook, New York
             May 16, 2025
